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                   UNITED STATES DISTRICT COURT
                   NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION

 INTERNATIONAL ALLIANCE OF
 THEATER STAGE EMPLOYEES
 LOCAL 927,

                             Plaintiff,

       v.                                  No. 1:23-cv-04929-AT

 JOHN FERVIER, et al.,

                          Defendants,

 REPUBLICAN NATIONAL
 COMMITTEE; and GEORGIA
 REPUBLICAN PARTY, INC.,

             Intervenor-Defendants.


                                  Rule 5.1 Notice
      On May 6, 2024, the Court granted the Republican National Committee
and the Georgia Republican Party’s motion to intervene in this case. See Doc.
84. The Court added the intervenors as defendants and docketed the
intervenors’ motion to dismiss Plaintiff's amended complaint. See Doc. 66.
Intervenors now file this notice under Federal Rule of Civil Procedure 5.1.
      Rule 5.1 requires a party who “draw[s] into question the constitutionality
of a federal or state statute” to provide notice to the Court and the Attorney
General. The notice must “stat[e] the question and identify[] the paper that
raises it.” Fed. R. Civ. P. 5.1(a)(1).
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      Intervenors’ motion to dismiss raises the constitutionality of a provision
of the 1970 amendments to the Voting Rights Act. See Doc. 66. Plaintiff claims

that Georgia’s deadline for voters to apply to vote by absentee ballot in
presidential elections is preempted by 52 U.S.C. §10502(d). Intervenors moved
to dismiss in part because Congress has no authority to enact an absentee-

ballot application deadline for presidential elections. The national seven-day
deadline Congress included in 52 U.S.C. §10502(d) is thus unconstitutional.
See Doc. 66.

      In compliance with Rule 5.1(a)(2), Intervenors will serve a copy of this
notice and their motion to dismiss on the Attorney General via certified mail.


      Dated: May 7, 2024                   Respectfully submitted,

                                           /s/ Alex Kaufman

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      Gilbert C. Dickey*                   GA BAR 13607
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                    CERTIFICATE OF COMPLIANCE
     This document complies with Local Rule 5.1(B) because it uses 13-point

Century Schoolbook.
                                         /s/ Alex Kaufman




                      CERTIFICATE OF SERVICE

     On May 7, 2024, I e-filed this document on ECF, which will email
everyone requiring service.
                                         /s/ Alex Kaufman




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